                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

PEERLESS INSURANCE COMPANY,               §
                                          §
                  Plaintiff,              §
                                          §
v.                                        §     Case No. 1:18-cv-1040
                                          §
WEO CONSTRUCTION,                         §
                                          §
                  Defendant.              §
______________________________________________________________________________

            NOTICE OF WITHDRAWAL BY WEO CARPENTRY, LLC
           OF MOTION FOR SUMMARY JUDGMENT (DOCKET NO. 17)
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       WEO Carpentry, LLC (WEO), by its attorneys, withdraws its Motion for Summary

Judgment (Docket No. 17) filed on September 27, 2018.



                                                 /s/ William H. Hyle, III
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                                CERTIFICATE OF SERVICE

       I certify that on this 8th day of November 2018, I caused the foregoing Notice of

Withdrawal to be served on the attorneys for Plaintiff via ECF:

       Mary Morris
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                                                   /s/ William H. Hyle, III
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